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                        CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
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        JENNY LISETTE FLORES, et al.,         )      Case No. CV 85-4544 DMG (AGRx)
19                                            )
               Plaintiffs,                    )      EXHIBIT 3 – DEPOSITION OF JOSHUA
20
        - vs -                                )      REID – PART 1
21                                            )
        LORETTA E. LYNCH, ATTORNEY            )      Hearing: October 6, 2016
22
        GENERAL OF THE UNITED STATES, et al., )
23                                            )
               Defendants.                    )
24
                                          _ )
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        Plaintiffs’ counsel, continued:
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